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     Federal Defender
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4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-53 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO NOVEMBER 12,
12           v.                                     )   2015, AT 9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: October 8, 2015
     CASTELLON, EDUARDO REYES,                      )   Time: 9:00 a.m.
14                                                  )   Judge: Honorable Morrison C. England, Jr.
                                Defendants.         )
15                                                  )
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17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for October 8, 2015, at 9:00 a.m., to November 12, 2015, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about discovery and
20   proposed plea agreements, to meet and confer, and to negotiate further with the government.
21             Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through November 12, 2015, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
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25   ///
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      Stipulation to Continue                           -1-                                       13-53 MCE
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.
4    DATED: October 6, 2015                         HEATHER E. WILLIAMS
                                                    Federal Defender
5
6                                                   /s/ M.Petrik__________
                                                    MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: October 6, 2015
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                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13
     DATED: October 6, 2015
14
                                                    /s/ M.Petrik for_______
15                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
16
17
     DATED: October 6, 2015                         BENJAMIN B. WAGNER
18                                                  United States Attorney

19                                                  /s/ M.Petrik for_______
                                                    JASON HITT
20
                                                    Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                           13-53 MCE
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1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial. The status conference is rescheduled for November 12,
8    2015, at 9:00 a.m., and the time from the date of this order, up to and including November 12,
9    2015, is excluded from computation of time within which the trial of this case must commence
10   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
11             IT IS SO ORDERED.
12   Dated: October 9, 2015
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      Stipulation to Continue                          -3-                                        13-53 MCE
